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                       UNITED STATES COURT OF APPEALS                    FILED
                              FOR THE NINTH CIRCUIT                      APR 23 2021
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
BRENDA M. JOHNSON,                                No.   20-36039

                   Plaintiff-Appellant,           D.C. No. 3:20-cv-05857-MJP
                                                  Western District of Washington,
  v.                                              Tacoma

ELECTRONIC TRANSACTION                            ORDER
CONSULTANTS, LLC,

                   Defendant-Appellee.

Before: THOMAS, Chief Judge, HURWITZ and BADE, Circuit Judges.

       Appellant’s motion for reconsideration (Docket Entry No. 4) is denied. See

9th Cir. R. 27-10.

       All other pending motions are denied as moot.

       No further filings will be entertained in this closed case.




MF/Pro Se
